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MD SL‘WLOS `°N °S¥O \"~mz¢ss/mscox/v:)s:
BDIUHIEI}H H.LIM NOI.LOV zIO 'IVSSUNSIG }IO:I NOI.I.V"I[I¢U.LS 8a

 

 

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sz
vz
'sw_epw;=>cl sz

‘NuoH NVA Aos)ad zz

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‘A'EI"IMVH .I.}I':'IEIO}I ‘NO SNHOI' AC[DI 13

 

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‘XEI'IAAVH .LHEIHOH ‘NOSNHO[ A(Iflf [[
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(908991 =Nas) owing 'cl ”IHVH:)IN 1

 

 

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M£) KLWLOO `°N 330
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MD SLWLGO '°N mO
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.I.NV.I.OO HSA'IH Pm*
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